
In re State of Louisiana; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. E, No. 370-260, Keva Land-rum-Johnson, J.; to the Court of Appeal, Fourth Circuit, No. 2013-K-0491.
h Granted. The district court’s order granting respondent’s Motion to Correct an Illegal Sentence is reversed. The decision in Miller v. Alabama, 567 U.S. -, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012), does not apply retroactively in respondent’s case. See State v. Tate, 12-2763 (La.11/5/13), 130 So.3d 829, cert. denied, Tate v. Louisiana, No. 13-8915, — U.S. -, 134 S.Ct. 2663, 189 L.Ed.2d 214, 2014 WL 834279 (May 27, 2014).
JOHNSON, C.J., dissents and would deny the writ with reasons.
